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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

               - v. -                            S6 15 Cr. 379 (PKC)

 GEOVANNY FUENTES RAMIREZ,

                                    Defendant.




                        THE GOVERNMENT’S MOTIONS IN LIMINE




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA

                - v. -                                    S6 15 Cr. 379 (PKC)

    GEOVANNY FUENTES RAMIREZ,

                                   Defendant.


        The Government respectfully submits this memorandum in support of motions in limine

seeking the following rulings with respect to the defendant’s upcoming trial:

        1. Evidence of narcotics-related corruption, including the use of drug proceeds to fund
           political campaigns and bribe politicians, at least one judge, and law enforcement, is
           admissible as direct evidence and pursuant to Rule 404(b);

        2. Testimony regarding statements by a Honduran politician and a Honduran judge who
           were the defendant’s co-conspirators is admissible pursuant to Rules 801(d)(2)(B), 801
           (d)(2)(E), and/or 804(b)(3);

        3. Testimony regarding statements by former drug traffickers and a member of the
           Honduran National Police who were the defendant’s co-conspirators is admissible
           pursuant to Rules 801(d)(2)(B), 801(d)(2)(E), and/or 804(b)(3);

        4. Evidence of the defendant’s participation in five murders in furtherance of his drug-
           trafficking activities is admissible as direct evidence and pursuant to Rule 404(b); and

        5. Electronic evidence from one of the defendant’s cellphones, including pictures of
           machineguns, acts of violence, and communications concerning the Honduran military
           and drug-trafficking associates, is admissible as direct evidence and pursuant to Rules
           404(b), 801(d)(2)(E), and 804(b)(3).1




1
  The Government is submitting a single consolidated memorandum in support of its five motions
in limine.




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                                         BACKGROUND2

       The defendant worked with other violent, large-scale drug traffickers to import thousands

of kilograms of cocaine into the United States. To accomplish this massive level of drug

distribution, the defendant relied on protection from high-ranking Honduran officials and the

Honduran military; commanded men armed with military grade weapons, including machineguns;

controlled a cocaine laboratory that he used to manufacture hundreds of kilograms of cocaine per

month; used clandestine airstrips that received planes filled with cocaine; bribed politicians, at

least one judge, and law enforcement officials; and engaged in acts of violence, including murder.

       The defendant made huge sums of blood money through his egregious course of conduct.

He also partnered with high-ranking political and military officials to facilitate his drug-trafficking

activities in a country that has been ravaged by drug-related violence. In approximately 2013, the

defendant bribed a high-ranking politician (referred to below as CC-4) so that the defendant’s

drug-trafficking activities would flourish. During meetings with CC-4, the defendant agreed to

report directly to CC-4’s brother, convicted drug trafficker Tony Hernandez, and to work with CC-

4 and Tony Hernandez to use the defendant’s cocaine laboratory to import massive quantities of

cocaine into the United States. Indeed, as CC-4 put it, the defendant and CC-4 wanted to “shove

the drugs right up the noses of the gringos” by flooding the United States with cocaine. The

defendant believed that with his powerful allies he could operate with total impunity. Witnesses



2
  The Government respectfully submits that all of the evidence described in this brief, including
with respect to acts of violence, is admissible as direct evidence of the crimes charged. The
Government hereby provides notice that it also intends to offer this evidence, in the alternative,
pursuant to Rule 404(b). The Government plans to continue to meet with potential witnesses
between now and the trial, and will supplement this notice as necessary should the Government
learn of additional acts of violence involving the defendant or other Rule 404(b) evidence.




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will testify that he regularly carried and bragged about his automatic weapons, including a

machinegun that was given to him by a high-ranking member of Honduras’s military. When the

defendant’s cocaine laboratory was raided by law enforcement, the defendant bribed a high-

ranking judge in Honduras so that he would not be investigated. On at least four occasions between

approximately 2010 and 2013, the defendant also helped arrange or directly participated in

murders in furtherance of his drug-trafficking activities. In one of those incidents, the defendant

and a co-conspirator kidnapped a law enforcement officer who dared to investigate the defendant’s

cocaine laboratory, tortured the officer, and then stabbed him to death.

         The Government will establish these facts at trial through testimony from the defendant’s

former co-conspirators, evidence seized in connection with his arrest (including data from one of

his cellphones), and expert testimony regarding drug-trafficking patterns, the relevant history and

structure of the Honduran political system, and features of the weapons used by the defendant and

his co-conspirators.

I.       The Defendant Imports Cocaine to Miami and Solicits Drug-Trafficking Proceeds to
         Finance His Cocaine Laboratory in Honduras

         The defendant was a long-time drug-trafficking partner of an assassin named

                         (“CC-1”), who the defendant has known since at least 2003.3 By 2009, the

defendant and CC-1 were operating a cocaine laboratory in Cerro Negro, Omoa, which is a

mountainous area in the Cortés Department of northwestern Honduras (the “Laboratory”), and

they needed drug-trafficking partners to help finance those operations. As a result, the defendant

and CC-1 forged a drug-trafficking relationship with Devis Leonel Rivera Maradiaga and Javier



3
    The Government is providing under seal as Exhibit A a key for the co-conspirator numbers.




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Rivera Maradiaga, the former leaders of a violent and prolific drug-trafficking organization in

Honduras known as the Cachiros, who are now cooperating witnesses against the defendant.

          In about 2010, CC-1 met with Leonel Rivera in Honduras to convince him to begin working

with the defendant. During that meeting, CC-1 explained, among other things, that CC-1 had

known the defendant for several years, and that beginning in about 2008 or 2009, the defendant

received approximately two to three kilograms of cocaine per month in Miami from CC-1, which

the defendant would sell on CC-1’s behalf. CC-1 also said that he wanted to introduce the

defendant to Leonel Rivera because the defendant and CC-1 were operating the Laboratory; the

defendant also was participating in drug-trafficking activities in the vicinity of the Cortés

Department; and the defendant was bribing high-ranking members of the Honduran National

Police in connection with those activities.

          Several days later, the defendant met with Leonel Rivera, CC-1, and one of CC-1’s workers

at a gas station belonging to Leonel Rivera in Omoa, Cortés. The defendant arrived to the meeting

in a red sedan, armed with a handgun on his waist and with two assault rifles in the backseat.

Leonel Rivera and CC-1 entered his car. The defendant told Leonel Rivera that he obtained the

rifles from someone in the military who was going to be on the security detail for the recently

elected                                            (“CC-2”), who was elected in November 2009.

As the Court is aware from the October 2019 trial of Tony Hernandez, CC-2 and CC-4 accepted

millions of dollars in drug-trafficking proceeds and, in exchange, promised drug traffickers

protection from prosecutors, law enforcement, and (later) extradition to the United States.

          During the meeting when the defendant referred to receiving weapons from CC-2’s

bodyguards, the defendant told Leonel Rivera that he had been receiving between approximately




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two to five kilograms of cocaine per month in Miami from CC-1; the drugs were transported in

the tires of planes departing from San Pedro Sula, Honduras to Miami; and the defendant sold the

drugs on CC-1’s behalf in Miami. The defendant also offered his services to the Cachiros,

explaining that he had close relationships with high-ranking members of the Honduran National

Police, including two police officials,                         (“CC-3”) and another police chief

in the area, who the defendant was bribing for information and assistance protecting drug loads

and the Laboratory. The defendant also requested financial support from the Cachiros for the

Laboratory, which beginning in approximately 2010 was producing approximately 200 to 300

kilograms of cocaine per month and was guarded by over approximately a dozen men armed with

assault rifles including AK-47s and AR-15s.          Leonel Rivera provided the defendant with

approximately $65,000 at the meeting, and in exchange, the defendant provided Rivera with his

red sedan and, later, an all-terrain vehicle. The defendant also said during the meeting that one of

his family members was sick and was requesting some money to help with related bills. As a

result, Leonel Rivera provided an additional approximately $10,000 to the defendant at the

meeting.

II.    The Defendant Commits Acts of Violence to Help Leonel Rivera and Transports
       Multiple Drug Loads Totaling Over Approximately 1,000 Kilograms of Cocaine

       Several months later, the defendant met again with CC-1 and Leonel Rivera at a nightclub

in Choloma, a city in the Cortés Department, that was owned by CC-1. During the meeting, the

defendant told Leonel Rivera that he had murdered for the Cachiros a boat mechanic (“Victim-

1”), who had worked on one of the defendant’s high-speed boats that he used to transport cocaine.

The defendant explained that he overheard Victim-1 at a marina in the Cortés Department say that

he had been hired by Leonel Rivera to fix one of Rivera’s boats, but that Victim-1 did not do all




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the requested repairs and still kept all the money Leonel Rivera had paid him. As a result, the

defendant contacted the police chief in the area of Acantilado and instructed that official to capture

Victim-1 and deliver him to the defendant, which he did. The defendant shot Victim-1 twice in

the head and then he and his workers discarded his body along the border of Honduras and

Guatemala. The defendant showed Leonel Rivera a picture on his phone of Victim-1 dead, and

assured Leonel Rivera that he would protect his interests. As a result, Leonel Rivera told the

defendant that he no longer needed to repay approximately $10,000 of drug-trafficking proceeds

that Rivera had given the defendant at their initial meeting for the defendant’s sick family member.

       Around this time, the defendant and some of his co-conspirators, including CC-1 and

             (“CC-5”), met with Leonel Rivera to discuss another murder they had committed.

CC-5 was a member of the Honduran National Police who worked for years with, among others,

the defendant, CC-1, and Leonel Rivera to protect their drug shipments and support their drug-

trafficking activities.4 During that meeting, CC-1 said that the group, including the defendant, had

killed two assassins (“Victim-2” and “Victim-3”) who were responsible for murdering CC-1’s

relative. Like the murder of Victim-1, CC-1 explained that they used Honduran National Police

members to help locate and capture Victim-3 and Victim-4; brought the men to a property in a

remote location of the Cortés Department; tortured the victims, including by cutting off one of

their ears; and then killed them. CC-5 told Leonel Rivera that the assassins were killed, at least in

part, to ensure they did not target members of the Cachiros.




4
                      CC-5 pled guilty to conspiring to import cocaine into the United States.




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       Having built trust with the Cachiros through acts of violence, the defendant started to work

on drug shipments with their organization and members of the Honduran Los Valles cartel, which

had a base of operations in the Copán Department in western Honduras.5 In about mid-2011, the

defendant, CC-1, and several of their workers helped transport approximately 400 kilograms of

cocaine by truck from Tocoa, Colon to Entrada, Copán. The cocaine was sent by plane from a

Colombian cocaine supplier,                                                        (“CC-6”), to an

airstrip controlled by Sergio Neftali Mejía Duarte in the Gracias A Dios Department of Honduras.6

Before the plane arrived, the defendant and CC-1 met with Leonel Rivera in Tocoa and agreed to

use their police contacts to ensure safe passage of the cocaine to Copán, where it would be received

by the Los Valles cartel and then transported to the United States by other co-conspirators. When

the cocaine arrived at the airstrip, members of the Cachiros, who were armed with machineguns,

transported the drugs to Tocoa. From there, the defendant and his workers, who were also armed

with handguns and assault rifles, transported the drugs to the Valles in Copán. The defendant was

paid approximately $40,000 for this work. Later in 2011, the defendant, CC-1, and several of their

workers helped transport approximately 475 kilograms of cocaine from Tocoa to Copán. CC-6




5
 Cooperating witnesses will confirm at trial that the Los Valles group was “one of the most prolific
Central American narcotics trafficking organizations,” which earned that reputation through a
“combination of brutal violence and public corruption.” OFAC, Treasury Targets Honduran Drug
Trafficking Organization and Its Network (Aug. 20, 2014), https://www.treasury.gov/press-
center/press-releases/Pages/jl2611.aspx. In 2016, Miguel Arnulfo Valle Valle and Luis Antonio
Valle Valle pled guilty to drug-trafficking charges pending in the Eastern District of Virginia and
Southern District of Florida, and they were each subsequently sentenced to 300 months’
imprisonment. See No. 13 Cr. 20897 (SDFL).
6
 Mejía Duarte was a Honduran drug-trafficker who was convicted at trial and sentenced to life
imprisonment in the Southern District of Florida in 2018. See 15 Cr. 20540 (S.D.F.L.).




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sent the cocaine by plane to an airstrip, this time one in the Olancho Department controlled by

Fredy Renan Najera Montoya, a former Honduran congressman and large scale drug trafficker.7

As with the previous shipment, the defendant, CC-1, and their workers took control of the cocaine

in Tocoa; transported it by truck to the Valles in Copán; and guarded the shipment with heavy

weaponry, including machineguns. The defendant was paid approximately $50,000 for this

transportation work.

          After these drug loads, the defendant also received cocaine shipments directly from CC-6,

without the Cachiros acting as an intermediary.                             (“CC-7”), another drug

trafficker who worked with Leonel Rivera, told Rivera that the defendant had received a plane

containing hundreds of kilograms of cocaine from CC-6 in Cachiros-controlled territory. CC-5

also separately called Leonel Rivera, explained that the defendant and CC-5 were working with

CC-6, and asked permission for the group to receive a cocaine-laden airplane in Cachiros

controlled territory, which Leonel Rivera authorized.

III.      The Defendant Partners with a Major Honduran Drug-Trafficker and Murders A
          Law Enforcement Officer After the Defendant’s Laboratory is Raided By Police

       While the defendant was working with the Cachiros, the Los Valles cartel, and CC-6 to

transport massive cocaine shipments, he also continued to use his Laboratory to produce and

transport hundreds of kilograms of cocaine per month. In about 2011, the defendant and CC-1 met

with Leonel Rivera to discuss the Laboratory. During that meeting, the defendant was armed with




7
 On February 19, 2020, Najera Montoya pled guilty to conspiring to import cocaine into the
United States and weapons offenses, related to his use and possession of machineguns and
destructive devices. See No. 15 Cr. 378 (PGG). Najera Montoya is scheduled to be sentenced in
March 2021.




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an assault rifle and a handgun that the defendant said was modified to fire automatically. The

defendant explained that his Laboratory was still producing approximately 200 to 300 kilograms

of cocaine per month, but that he was becoming concerned about police investigations because the

police contact whom he was bribing had been replaced in the Cortés Department. As a result, the

defendant partnered with another major drug-trafficker named

                   (“CC-8”), who financially supported the defendant’s Laboratory and had

additional police contacts that the defendant hoped would help stop investigations.8 The defendant

also helped CC-8 receive cocaine at airstrips the defendant controlled in Cortés. For example, in

about 2011, CC-1 told Leonel Rivera that CC-8 had received a shipment of approximately 300

kilograms of cocaine by airplane into Honduras, that the defendant had assisted in unloading the

cocaine from the airplane, and that the narcotics were later seized by law enforcement. On another

occasion, the defendant received a plane shipment of approximately 275 kilograms of cocaine at

the airstrip he controlled in Cortés, which had been sent by another cooperating witness at Leonel

Rivera’s direction.

       Despite CC-8’s assistance, Honduran law enforcement eventually raided the defendant’s

Laboratory, which led the defendant to go into hiding for a brief period of time. The defendant,

however, was not investigated or arrested despite the fact that the property on which the Laboratory

was found was recorded in his name on public records. Indeed, public source reporting reflected




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that one of the police officials who commented about the raid was                    (“CC-9”), who

the defendant told others protected him.9 Moreover, shortly after the raid, the defendant bragged

that he was happy that he was protected from investigation or arrest. The defendant also met with,

among others, a high-ranking judge in Honduras,                            (“CC-10”), who assured

the defendant, in substance and in part, that he would not be investigated or arrested based on the

raid of his Laboratory. At the end of the meeting, the defendant bribed CC-10 with approximately

30,000 lempiras for his assistance.

       Following the raid, the defendant and CC-1 also met with Leonel Rivera in San Pedro Sula.

During that meeting, the defendant said that he had killed one of the police officers involved in the

raid (“Victim-4”).    He explained that the officer was identified when he talked about his

involvement in the raid at a nightclub that, unbeknownst to Victim-2, was owned by CC-1. As a

result, and in retaliation for the raid, the defendant and CC-1 kidnapped Victim-2, tied him up,

tortured him, and stabbed him to death.

IV.    The Defendant Seeks Assistance Collecting a Drug-Trafficking Debt and Murders
       Another Drug Trafficker

       In about 2013, the defendant met again with Leonel Rivera to seek his assistance collecting

a drug-trafficking debt owed by a Honduran trafficker                          (“CC-11”), who was

based in Guatemala. The defendant approached Leonel Rivera about this issue because Rivera

had worked with CC-11 in the past, including by hiring several of CC-11’s assassins who

unsuccessfully attempted to kill one of the Cachiros’ rivals. During the meeting, the defendant



9
 See, e.g., La Prensa, Honduras: Alleged Narco Laboratory Found (Mar. 9, 2011), available at
https://www.laprensa.hn/sucesos/549002-97/honduras-hallan-supuesto-narco-laboratorio.
Exhibit B is an original copy of the article together with a draft translation.




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said that he and CC-1 were owed several million dollars from CC-11 for approximately 500

kilograms of cocaine, and that the defendant would give Leonel Rivera five percent of that figure

if the Cachiros helped collect the debt. Leonel Rivera agreed to help, and held a series of meetings

in Guatemala with CC-1 and CC-11, among others, during which CC-11 acknowledged that the

defendant had provided him with several hundred kilograms of cocaine and promised to pay him

back using the proceeds from a then-pending drug shipment from Colombia.

       A few months later in 2013, the defendant solicited $1 million in drug-trafficking proceeds

from the Cachiros. During a meeting between CC-1 and Leonel Rivera, CC-1 said that he and the

defendant had an opportunity to participate in a large cocaine shipment that was being transported

by sea, and requested that the Cachiros invest $1 million. Leonel Rivera declined. In a subsequent

meeting, CC-7 told Leonel Rivera that the defendant and CC-1 were upset at CC-7 because he

owed them approximately 300 kilograms of cocaine from a drug shipment and were also upset that

the Cachiros did not invest $1 million as requested. CC-7 was concerned that the defendant and

CC-1 were going to kill him and then the Cachiros, and asked that Leonel Rivera intervene.

       Following this meeting, the defendant and CC-1 hired assassins who killed CC-7. After

CC-7’s murder, Leonel Rivera hired an assassin named              (“CC-12”) who had worked with

the defendant and CC-1 in the past to kill CC-1, and that same assassin later attempted to kill the

defendant at Leonel Rivera’s direction.

V.     The Defendant Engages In Drug-trafficking Under the Protection of National Party
       Leaders and the Honduran Military

       By late 2013, the defendant partnered directly with CC-4 and high-ranking officials in the

Honduran military. At this time, CC-4 was pursuing election as the President of Honduras as a

member of the Partido Nacional de Honduras (the “National Party”). Leonel Rivera will testify




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that they and other drug-traffickers were paying massive bribes to CC-4 in exchange for protection

from law enforcement and extradition to the United States. Among other things, and as established

at Tony Hernandez’s trial, in about 2013, CC-4 accepted approximately $1 million in drug-

trafficking proceeds that was provided to his brother by the former leader of the Sinaloa Cartel,

Joaquín Guzman Loera (“Chapo”).

       On a number of occasions in late 2013, CC-4 attended meetings at a business in the Cortés

Department (“Business-1”). The owner of that business (“Owner-1”) was a large financial

supporter of the National Party. The defendant also had a longstanding relationship with Business-

1 and Owner-1, and the defendant used Business-1 to launder drug-trafficking proceeds. On a

periodic basis between about 2004 and 2015, the defendant provided large amounts of U.S.

currency to employees at Business-1 who would, at Owner-1’s direction, deposit the money in

Business-1’s bank accounts. In exchange, the defendant received checks from Business-1.

       During meetings at Business-1 involving CC-4 and Owner-1 in 2013, at least some of

which were observed by a lay witness (“Witness-1”), CC-4 solicited large campaign contributions

from Business-1. CC-4 also discussed widespread public corruption by himself and the National

Party, including that CC-4 was embezzling aid money provided by the United States through

fraudulent non-governmental organizations and stealing money from Honduras’s social security

system. On a number of occasions, CC-4 was given checks from Business-1 at the direction of

Owner-1 in the amount of approximately 250,000 lempiras on each occasion.

       Around this time, the defendant also had two meetings with CC-4 at Business-1. During

the meetings, the following occurred, in substance and in part: (i) the defendant gave CC-4

approximately tens of thousands of dollars in exchange for an ongoing promise of protection by




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CC-4 from law enforcement scrutiny and military support of his drug-trafficking activities;

(ii) CC-4 told the defendant that he was interested in access to the defendant’s Laboratory because

of its proximity to Puerto Cortés, a key shipping port on the northern coast of Honduras that was

minutes away from the Laboratory; (iii) CC-4 agreed to use the Honduran armed forces as security

for the defendant’s drug-trafficking activities; (iv) CC-4 said the Attorney General of Honduras

would help protect the defendant’s drug-trafficking activities; (iv) CC-4 said that Tony Hernandez

was managing drug-trafficking activities in Honduras, that the defendant should report directly to

Tony Hernandez for purposes of drug trafficking, and CC-4 provided the defendant with Tony

Hernandez’s phone number; and (v) CC-4 said that he wanted to make the U.S. Drug Enforcement

Administration think that Honduras was fighting drug trafficking, but that instead he was going to

eliminate extradition and “shove the drugs right up the noses of the gringos,” referring to flooding

the United States with cocaine. The defendant, in substance and in part, was excited to have CC-

4’s protection and agreed to work with CC-4 and his brother to import cocaine into the United

States.

          Following the defendant’s meetings with CC-4, the defendant received support from high-

ranking members of the Honduran military. For example, on several occasions, the defendant

carried a green submachinegun, which he said was provided to him by

           (“CC-13”), then the commander of the 105th Military Brigade. The defendant also

received other equipment from the military, including a box that contained military uniforms,

bullet proof vests, and police badges. The box contained a note that said for “Geovanny Fuentes”

with a seal of the 105th Military Brigade.




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VI.       The Defendant’s Arrest and Admissions

          On March 1, 2020, the defendant was arrested in Miami, waived his Miranda rights, and

made incriminating statements to law enforcement. 10 For example, the defendant admitted to

knowing and having relationships with his key drug-trafficking co-conspirators:

         CC-1: The defendant said he had known CC-1 for a long time; that he had heard from
          others, including media reporting and CC-3, that CC-1 engaged in drug trafficking with
          the Cachiros; that CC-1 owned a nightclub in Choloma, which the defendant went to
          “several times”; that “sometimes there were meetings” at the nightclub; and that CC-1
          introduced the defendant to Leonel Rivera.

         CC-12: The defendant admitted to knowing CC-12, who the defendant said “started
          working with [CC-1] . . . like in security”; “threaten[ed] one [of the defendant’s] sons”;
          “was a hitman”; and was later killed.

         CC-8: The defendant admitted to knowing CC-8 very well; that CC-8 “studied” commerce
          with the defendant; that CC-8 was “very close” with Owner-1; and that CC-8 did “drug
          trafficking stuff” for a living.

         CC-7: The defendant said that he knew CC-7; that he met CC-7 in Choloma; that “at the
          end we realized that [CC-7] was involved in drug trafficking things”; and that CC-7 was
          killed.

         The Cachiros: The defendant said he met Leonel Rivera and Javier Rivera and that Javier
          Rivera’s daughter married the defendant’s son, but he claimed that he never did anything
          illegal with them. The defendant also said that he had a meeting with Leonel Rivera at a
          gas station that Rivera owned in Omoa, Cortés, which the defendant went to because it was
          close to a “marina” at “Acantilados.” The defendant also said that he sold Leonel Rivera
          two cars for tens of thousands of dollars, which Leonel Rivera paid for in two installments
          of U.S. currency.

         Owner-1: The defendant admitted to knowing Owner-1 very well; that Owner-1 had
          financed one of the defendant’s businesses with loans; and that Owner-1 was a financial
          supporter of CC-4.




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   The interview was conducted in Spanish. English translations and summaries of Spanish-
language documents and communications set forth herein are preliminary drafts subject to revision
during the Government’s preparations for trial. See, e.g., infra Discussion Section V.




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      CC-4: The defendant admitted that CC-4 was at Business-1 “all the time” when he was
       campaigning.

      Honduran National Police: The defendant admitted to having relationships with several
       police officers, including Commissioner Martinez and “the Saucedas,” one of whom the
       defendant said he was particularly close to.

       The defendant also made admissions about the Laboratory in “Cerro Negro.”               The

defendant said that “[m]any years ago, there was a lab that was discovered in one of the properties

that belonged to [Owner-1]” and that the lab was “supposedly” for “cocaine” but “nothing was

found there.” He also said that when law enforcement raided the Laboratory, he gave a statement

to law enforcement because he “provided maintenance” to a “coffee plantation” located on the

property. The defendant also admitted that at some point the property with the Laboratory

belonged to him because Owner-1 “gave it to [him].”

        After the defendant was arrested in Miami, he was transferred to the Metropolitan

Correctional Center in New York, where he has been incarcerated since April 23, 2020. In about

September 2020, the defendant approached and talked to Leonel Rivera on two occasions. During

those interactions, the defendant stated, among other things, that he believed he was in prison

because of CC-4. The defendant explained that prior to his arrest, the defendant and CC-3 had

met with a military official who said he was sent by CC-4 and who told them to sell one of the

defendant’s companies to CC-4 so that CC-4 could use it to launder, among other things, millions

of dollars in drug-trafficking proceeds. The defendant told Rivera that he met with CC-4 on two

occasions when CC-4 was running for office, paid CC-4 approximately 450,000 lempiras both

times and, in exchange, received CC-4’s assurance that he would support the defendant with

anything he needed. The defendant also admitted that CC-1 killed Victim-2, but he denied any

involvement in the murder.




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                                          ARGUMENT

I.     Evidence of Narcotics-Related Corruption Is Admissible as Direct Evidence and
       Pursuant to Rule 404(b)

       The defendant and his co-conspirators, including cooperating witnesses, relied on drug

proceeds to bribe numerous politicians, at least one judge, and law enforcement officials who

helped ensure the safe passage of their cocaine and protected them from law enforcement in

Honduras. Thus, evidence of narcotics-related corruption is admissible at trial, as direct evidence

and pursuant to Rule 404(b), in order to establish the nature of the conspiracy and the defendant’s

role in it, the relationships between co-conspirators, and the defendant’s motive and intent.

       A.      Applicable Law

               1.      Direct Evidence of the Defendant’s Guilt

       Relevant evidence “need only tend to prove the government’s case,” such as “evidence that

adds context and dimension to the government’s proof of the charges.” United States v. Gonzalez,

110 F.3d 936, 941 (2d Cir. 1997). Thus, background evidence is relevant and admissible, pursuant

to Rule 401, where it tends “to show, for example, the circumstances surrounding the events or to

furnish an explanation of the understanding or intent with which certain acts were performed.” Id.

(internal quotation marks omitted). Evidence is also admissible if it relates to conduct that:

(i) “‘arose out of the same transaction or series of transactions as the charged offense’”; (ii) “‘is

inextricably intertwined with the evidence regarding the charged offense’”; or (iii) “‘is necessary

to complete the story of the crime on trial.’” United States v. Gohari, 227 F. Supp. 3d 313, 317

(S.D.N.Y. 2017) (quoting United States v. Robinson, 702 F.3d 22, 36-37 (2d Cir. 2012)).

“Evidence fitting within one of these three categories is considered direct evidence and Rule 404

is not applicable.” United States v. Fiumano, No. 14 Cr. 518, 2016 WL 1629356, at *3 (S.D.N.Y.




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Apr. 25, 2016).

               2.      Other Acts Evidence Pursuant to Rule 404(b)

       Under Rule 404(b), courts “may allow evidence of other acts by the defendant if the

evidence is relevant to an issue at trial other than the defendant’s character and if the risk of unfair

prejudice does not substantially outweigh the probative value of the evidence.” United States v.

Ulbricht, 79 F. Supp. 3d 466, 479 (S.D.N.Y. 2015). “This Circuit follows the inclusionary

approach, which admits all other act evidence that does not serve the sole purpose of showing the

defendant’s bad character and that is neither overly prejudicial under Rule 403 nor irrelevant under

Rule 402.” United States v. Curley, 639 F.3d 50, 56 (2d Cir. 2011) (internal quotation marks

omitted). In general, evidence is admissible under Rule 404(b) “if (1) it is introduced for a proper

purpose, (2) it is relevant to the charged offense, (3) its prejudicial effect does not substantially

outweigh its probative value and (4) is admitted with a limiting instruction if requested.” United

States v. Rutkoske, 506 F.3d 170, 176-77 (2d Cir. 2007).

       B.      Discussion

       As is clear from the Background section above, one of the defining characteristics of the

charged drug-trafficking conspiracy and related weapons offenses is the use of drug proceeds to

bribe public officials in exchange for protection and support of traffickers, including but not

limited to the defendant. The Government will establish this deeply corrupt quid pro quo through,

inter alia, testimony from witnesses and evidence from the defendant’s cellphones showing his

relationship with public officials and the military.

       The defendant’s use of drug proceeds to bribe public officials was staggering and escalated

over time. Beginning in at least 2009, the defendant bribed multiple high-ranking members of the




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Honduran National Police in exchange for sensitive law enforcement information to support his

drug-trafficking activities and to protect the Laboratory. Among those police officials was CC-3,

who remained in contact with the defendant until shortly before his arrest. The defendant touted

these connections to convince other drug traffickers, including Leonel Rivera, to work with him,

and then the defendant leveraged his contacts to help him transport large loads of cocaine through

Honduras.

       As the defendant became more powerful, so did his political allies. After his Laboratory

was raided by law enforcement, the defendant was not investigated or arrested. Instead, the

defendant bribed CC-10, a high-ranking Honduran judge, who in exchange agreed to clean the

defendant’s criminal record and stop law enforcement interference. Then, in 2013, the defendant

contributed large sums of money to CC-4’s campaign for the Honduran presidency. In exchange,

CC-4 promised to protect the defendant from arrest and extradition; promised to help the defendant

transport cocaine with the assistance of Honduras’s armed forces; and directed the defendant to

work directly with Tony Hernandez, CC-4’s brother, to import huge quantities of cocaine into the

United States.

       Thus, evidence of high-level political corruption involving the defendant, CC-4, CC-10,

members of the Honduran National Police, and other traffickers is admissible as direct proof

because it is inextricably intertwined with the charged crimes and necessary to complete the story

of the crime on trial. See Gohari, 227 F. Supp. 3d at 317. The evidence tends to explain, for

example, why the co-conspirators came together, how they operated, and why there able to

continue crimes of this magnitude unabated for almost a decade. See United States v. Delligatti,

No. 15 Cr. 491, 2018 WL 1033242, at *6 (S.D.N.Y. Feb. 23, 2018) (“[W]here potential evidence




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explains the development of the illegal relationship . . . and explains the mutual trust that existed

between the coconspirators, it will be plainly admissible.” (internal quotation marks omitted)); cf.

United States v. Robles, 193 F.3d 519, 1999 WL 707902, at *7 (5th Cir. 1999) (finding evidence

sufficient in drug-trafficking case where jury could infer that defendant “intend[ed] to pay bribes

or otherwise provide protection to the [drug-trafficking organization] by finding out whether

members of the organization were targets of police investigations”).

       In the alternative, and for similar reasons, the corruption evidence is admissible pursuant

to Rule 404(b) because it illustrates the broader criminal plan of the defendant, CC-4, CC-10, and

others, to use drug trafficking to help assert power and control in Honduras, and is probative of

the defendant’s motive and intent in joining the conspiracy, i.e., to enrich himself by partnering

with powerful public officials. See United States v. Pipola, 83 F.3d 556, 566 (2d Cir. 1996) (noting

that evidence is admissible under Rule 404(b) “to explain how a criminal relationship developed”

and “help the jury understand the basis for the co-conspirators’ relationship of mutual trust”).

Thus, evidence of narcotics-related corruption involving the defendant and his co-conspirators is

relevant and has substantial probative value.

       Finally, this evidence is not unduly prejudicial relative to other proof the Government

expects to offer. The defendant’s drug shipments traversed Honduran waters and airspace based

on information from the Honduran police and support from the Honduran military. Honduran

police escorted his cocaine so that it would not be seized. The defendant, the police, and other

security personnel participated in these activities while heavily armed, including at times with

military-grade weapons. And these activities involved extensive violence. Accordingly, evidence

of the full breadth of the corruption involved in the defendant’s crimes is not barred by Rule 403.




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II.     Evidence of Statements by Honduran Officials to Witness-1 is Admissible Under the
        Hearsay Rules

        Several Honduran officials made statements in the presence of Witness-1 regarding the

drug-trafficking conspiracy and their joint efforts to protect the defendant and increase their power

in Honduras. Evidence of statements to or in the presences of Witness-1 is either not hearsay,

exempted under the hearsay rules, or both, and has significant probative value for the reasons set

forth above in Section I.

        A.      Relevant Statements

        The Government respectfully submits that the following statements, referred to below as

“Statement [number],” are admissible through testimony of Witness-1:

        1. In approximately 2011 or 2012, CC-10 told the defendant that he would intervene with
           law enforcement to prevent the defendant from being investigated or arrested for
           operating the Laboratory.

        2. In approximately 2013, CC-4 solicited large campaign contributions from Owner-1 and
           described participating in widespread public corruption within the Honduran
           government, including embezzling United States aid through non-governmental
           organizations and stealing from Honduras’s social security fund.

        3. In approximately 2013 and 2014, CC-4 promised to protect the defendant from arrest
           and extradition; promised to help the defendant transport cocaine with the assistance of
           Honduras’s armed forces; said he wanted to use the defendant’s Laboratory because of
           its proximity to a key shipping port; directed the defendant to work with Tony
           Hernandez (CC-4’s brother) with respect to drug-trafficking activities; and stated that
           he was going to “shove the drugs right up the noses of the gringos.”

        B.      Applicable Law

                1.      Rule 801(d)(2)(B): Adoptive Admissions

        Rule 801(d)(2)(B) of the Federal Rules of Evidence provides in relevant part that “[a]

statement is not hearsay if . . . the statement is offered against an opposing party and . . . is one the

party manifested that it adopted or believed to be true.” “When a statement is offered as an




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adoptive admission, the proponent must show that the party against whom the statement is offered

adopted or acquiesced to the statement and that ‘adoption or acquiescence may be manifested in

any appropriate manner.’” Penguin Books U.S.A., Inc. v. New Christian Church of Full Endeavor,

Ltd., 262 F. Supp. 2d 251, 258 (S.D.N.Y. 2003) (quoting Fed. R. Evid. 801(d)(2)(B), advisory

comm. notes). Adoption is evaluated by “examining the behavior of the party it is to be offered

against,” and the “adoption of another’s statement can be manifest by any appropriate means, such

as language, conduct or silence.” Id.; see also United States v. Rollins, 862 F.2d 1282, 1296 (7th

Cir. 1988) (explaining that the rule does not require an explicit statement of adoption; all that is

necessary is some “manifestation of a party’s intent to adopt another’s statements, or evidence of

the party’s belief in the truth of the statements”).

                2.      Rule 801(d)(2)(E): Co-Conspirator Statements

        Rule 801(d)(2)(E) of the Federal Rules of Evidence provides in relevant part that “[a]

statement is not hearsay if . . . the statement is offered against an opposing party and was made by

the party’s co-conspirator during and in furtherance of the conspiracy.” To admit a statement

pursuant to this Rule, the Court must find two facts by a preponderance of the evidence: first, that

a conspiracy that included the declarant and the defendant existed; and second, that the statement

was made during the course and in furtherance of that conspiracy. Bourjaily v. United States, 483

U.S. 171, 175 (1987).

        Once a conspiracy is shown to exist, the “evidence sufficient to link another defendant to

it need not be overwhelming,” and “the ‘in furtherance’ requirement of Rule 801(d)(2)(E) is

satisfied” when, for example, “a co-conspirator is apprised of the progress of the conspiracy, or

when the statements are designed to induce his assistance.” United States v. Paone, 782 F.2d 386,




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390 (2d Cir. 1986) (internal quotation marks omitted). Statements between co-conspirators that

“provide reassurance, serve to maintain trust and cohesiveness among them, or inform each other

of the current status of the conspiracy,” further the conspiracy, United States v. Simmons, 923 F.2d

934, 945 (2d Cir. 1988), as do statements “that apprise a co-conspirator of the progress of the

conspiracy,” United States v. Rahme, 813 F.2d 31, 36 (2d Cir. 1987).

                3.      Rule 804(b)(3): Statements Against Interest

         Under Rule 804, if a declarant is “unavailable,” there is an exception to the hearsay rule

where:

         (A) a reasonable person in the declarant’s position would have made [the
             statement] only if the person believed it to be true because, when made, it was
             so contrary to the declarant’s proprietary or pecuniary interest or had so great
             a tendency to invalidate the declarant’s claim against someone else or to expose
             the declarant to civil or criminal liability; and

         (B) is supported by corroborating circumstances that clearly indicate its
             trustworthiness, if it is offered in a criminal case as one that tends to expose
             the declarant to criminal liability.

Fed. R. Evid. 804(b)(3). This rule “is founded on the commonsense notion that reasonable people,

even reasonable people who are not especially honest, tend not to make self-inculpatory statements

unless they believe them to be true.” Williamson v. United States, 512 U.S. 594, 599 (1994).

         To satisfy Rule 804(b)(3), the proponent of the statement must show by a preponderance

of the evidence: “(1) that the declarant is unavailable as a witness, (2) that the statement is

sufficiently reliable to warrant an inference that a reasonable man in [the declarant’s] position

would not have made the statement unless he believed it to be true, and (3) that corroborating

circumstances clearly indicate the trustworthiness of the statement.” United States v. Wexler, 522

F.3d 194, 202 (2d Cir. 2008) (internal quotation marks omitted). A declarant is unavailable for




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purposes of Rule 804 if, as relevant here, the declarant is “exempted from testifying about the

subject matter of the declarant’s statement because the court rules that a privilege applies,” Fed.

R. Evid. 804(a)(1), or “is absent from the trial or hearing and the statement’s proponent has not

been able, by process or other reasonable means, to procure the declarant’s attendance or

testimony,” id. 804(a)(5)(B).

        “A statement will satisfy Rule 804(b)(3)’s requirement that it ‘tended’ to subject the

declarant to criminal liability if it would be probative in a trial against the declarant.” United States

v. Persico, 645 F.3d 85, 102 (2d Cir. 2011) (internal quotation marks omitted). Moreover, a

declarant need not “be aware that the incriminating statement subjects him to immediate criminal

prosecution,” but instead, that the “incriminating statement sufficiently tended to subject the

declarant to criminal liability so that a reasonable man in his position would not have made the

statement unless he believed it to be true.” United States v. Lang, 589 F.2d 92, 97 (2d Cir. 1978)

(internal quotation marks and citation omitted).

        Finally, the Second Circuit requires corroboration of both the declarant’s and the

statement’s trustworthiness. United States v. Doyle, 130 F.3d 523, 543-44 (2d Cir. 1997).

Statements made to co-conspirators, not in response to questioning, and not made in coercive

atmospheres are sufficiently reliable for purposes of this Rule. See, e.g., United States v. Matthews,

20 F.3d 538, 546 (2d Cir. 1994).

        C.      Discussion

        The Statements by Honduran officials to Witness-1 are relevant and admissible under the

hearsay rules. First, insofar as Statement 3 reflects requests and instructions to the defendant, it is

not hearsay and therefore admissible. See, e.g., United States v. Kuthuru, 665 F. App’x 34, 38 (2d




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Cir. 2016) (“Questions and commands are ordinarily not hearsay . . . .”). Second, as discussed in

more detail below, Statements 1 and 3 are admissible pursuant to Rule 801(d)(2)(B), and all the

Statements are admissible pursuant to Rule 801(d)(2)(E) and Rule 804(b)(3). Finally, these

statements are not unduly prejudicial in the context of other evidence, and the proof of these

statements will come from a single witness who will testify at the trial regarding related matters

irrespective of the Court’s ruling. Thus, admitting the statements would not violate Rule 403.

               1.      Statement 1 and Statement 3 Are Admissible Pursuant to Rule
                       801(d)(2)(B)

       Statements 1 and 3 are not hearsay under Rule 801(d)(2)(B) because the defendant was

present when they were made and manifested that he believed those statements to be true. For

example, the Government will establish through testimony that, after CC-10 made Statement 1,

the defendant paid CC-10 a large sum of money for his promise to protect the defendant from

investigation and arrest. Similarly, Witness-1 will explain that, after CC-4 made Statement 3, the

defendant expressed that he desired to engage in drug trafficking with CC-4 and Tony Hernandez,

and he paid CC-4 large bribes for his assistance. Thus, with respect to Statements 1 and 3, the

defendant’s behavior plainly establishes his intent to adopt them as true.

               2.      The Statements Are Admissible Pursuant to Rule 801(d)(2)(E)

       All of the Statements are admissible under Rule 801(d)(2)(E). The Government will

establish by a preponderance of the evidence that the defendant, CC-4, and CC-10 were members

of the charged drug-trafficking conspiracy, as well as a related conspiracy to leverage drug

trafficking to maintain and enhance their political power and the control of the National Party in

Honduras. See United States v. Russo, 302 F.3d 37, 45 (2d Cir. 2002) (“[T]he objective of the

joint venture that justifies deeming the speaker as the agent of the defendant need not be criminal




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at all.”). The defendant told Rivera Maradiaga, as early as 2009 or 2010, that he hoped to increase

his drug-trafficking activities by bribing public officials, including in addition to members of the

Honduran National Police, the mayor of Choloma. Moreover, Leonel Rivera will testify that by

the time CC-4 made Statements 2 and 3, CC-4 had solicited and accepted bribes from drug

traffickers to finance his political campaigns and facilitate the importation of huge quantities of

cocaine into the United States. The Government will also establish that the defendant, CC-10, and

CC-4 were co-conspirators. For example, the defendant paid CC-10 for his promise to protect the

defendant’s drug-trafficking activities. Similarly, on at least two occasions the defendant paid

large bribes to CC-4 in exchange for promises to protect the defendant’s Laboratory and drug-

trafficking activities.

        The statements at issue were also in furtherance of the conspiracy. Statements 1 and 3 by

CC-10 and CC-4 involved promises of protection and other favors that were designed to induce

the defendant to engage in drug trafficking and bribe CC-10 and CC-4. Statement 3 by CC-4 also

conveyed a request to the defendant to work with Tony Hernandez on drug-trafficking activities.

See United States v. Gigante, 166 F.3d 75, 82 (2d Cir. 1999) (finding “in furtherance” requirement

met where statements “induce a coconspirator’s assistance”); United States v. Beech-Nut Nutrition

Corp., 871 F.2d 1181, 1199 (2d Cir. 1989) (finding “in furtherance” requirement met where

statements “prompt the listener to respond in a way that facilitates the carrying out of criminal

activity” (internal quotation marks omitted)); United States v. Persico, 832 F.2d 705, 716 (2d Cir.

1987) (finding “in furtherance” requirement met where statements “solicited [listener’s]

assistance”). Statement 2 by CC-4 also furthered the conspiracy because it spurred assistance from

Owner-1 and established the relationship necessary for CC-4 to conduct drug-trafficking




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negotiations with the defendant at Business-1.

               3.     The Statements Are Admissible Pursuant to Rule 804(b)(3)

       Statements 1 through 3 are also admissible under Rule 804(b)(3) because the declarants are

unavailable and their remarks would be probative of their guilt were they to stand trial on drug

trafficking or money laundering charges.

       CC-10 and CC-4 are located abroad, outside the Government’s subpoena power, and would

likely invoke the Fifth Amendment if they were questioned under oath regarding these activities.

See United States v. Savoca, 335 F. Supp. 2d 385, 390 (S.D.N.Y. 2004) (“[T]he ‘unavailability’

component is established by the fact that [the declarant] is expected to invoke his Fifth Amendment

privilege.”); see also United States v. Ortiz, 962 F. Supp. 2d 565, 573 (S.D.N.Y. 2013) (finding

witness unavailable where located outside United States at time of trial). Statements 1 through 3

were against the penal interest of the declarants because the Statements “implicated [the

declarants] in [illegal] activity,” and each declarant “would not have made the statement unless he

believed it to be true.” United States v. Dupree, 870 F.3d 62, 80 (2d Cir. 2017); see also Ortiz,

962 F. Supp. 2d at 573.

       The statements are also sufficiently reliable because they were made in confidence in the

presence of Owner-1, Witness-1, and, with respect to Statements 1 and 3, the defendant, “a person

whom the declarant[s] believe[d] [was] an ally, not a law enforcement official.” United States v.

Sasso, 59 F.3d 341, 349 (2d Cir. 1995). Moreover, the Statements do not reflect “effort to shift

blame” away from the declarants, and there is no possibility that they would have uttered these

remarks “solely to curry favor with the authorities.” Id.; see also Dupree, 870 F.3d at 80 (finding

sufficient trustworthiness where declarant spoke to perceived ally and did not attempt to shift




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blame).     Finally, because CC-4 and CC-10 all occupied high positions in the Honduran

government, these declarants had “no need to attempt to impress [their] subordinate[],” the

defendant and/or Witness-1, by making “self-incriminating statements without a foundation of

truth.” United States v. Gupta, 747 F.3d 111, 129 (2d Cir. 2014). Therefore, Statements 1 through

3 also admissible under Rule 804(b)(3).

III.   Evidence of Statements By Former Drug Traffickers and a Member of the
       Honduran National Police to Leonel Rivera is Admissible Under the Hearsay
       Rules

       CC-1, CC-7, CC-5, and CC-11 made certain statements to Leonel Rivera during the course

of the defendant’s crimes, including about the roles in the conspiracy played by the defendant.

Testimony from Leonel Rivera regarding these statements is admissible under Rules 804(b)(3)

and/or 801(d)(2)(E).

       A.      Relevant Statements

       The Government respectfully submits that the following statements, referred to below as

“Statement [number],” are admissible through testimony of Leonel Rivera:

       1. In approximately 2010, CC-1 told Leonel Rivera that CC-1 had been sending the
          defendant approximately two to three kilograms of cocaine per month in Miami since
          2008 or 2009; CC-1 wanted to introduce the defendant to Leonel Rivera because the
          defendant and CC-1 were operating the Laboratory; the defendant was participating in
          drug-trafficking activities in the vicinity of the Cortés Department; and the defendant
          was bribing high-ranking members of the Honduran National Police in connection with
          those activities.

       2. In about 2011 or 2012, CC-7 told Leonel Rivera that the defendant had received a plane
          containing hundreds of kilograms of cocaine from CC-6 in Cachiros-controlled
          territory.

       3. In or about 2011 or 2012, CC-5 told Leonel Rivera that the defendant, CC-5, and others
          were working with CC-6, and CC-5 asked permission for the group to receive a
          cocaine-laden airplane in Cachiros-controlled territory.




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       4. In about 2013, CC-11 told Leonel Rivera that the defendant had provided CC-11 with
          several hundred kilograms of cocaine and CC-11 had promised to pay the defendant
          back using the proceeds from a then-pending drug shipment from Colombia.

       5. In about 2013, CC-1 said that CC-1 and the defendant had an opportunity to participate
          in a large-scale cocaine shipment that was being transported by sea, and requested that
          the Cachiros invest $1 million in the shipment.

       6. In about 2013, CC-7 told Leonel Rivera that he owed the defendant and CC-1
          approximately 300 kilograms of cocaine from a drug shipment and that the defendant
          and CC-1 were upset with CC-7 and the Cachiros for not investing $1 million in a drug
          load.

       B.      Discussion

               1.      The Statements Are Admissible Pursuant to Rule 801(d)(2)(E)

       As discussed above in the Background section, the Government will establish that the

defendant, CC-1, CC-7, CC-5, and CC-11 were co-conspirators through testimony from Leonel

Rivera. The Government also expects that at least one other cooperating witness will testify

concerning Leonel Rivera’s drug-trafficking activities with the defendant and at least some of the

other co-conspirators in this section. Moreover, the defendant acknowledged during his post-arrest

statements that he had relationships with CC-1 and CC-7, and that he knows CC-1 murdered

Victim-2.

       The Statements were all in furtherance of the defendant’s drug-trafficking conspiracy. As

an initial matter, to the extent Statements 1, 3, and 5 reflect a request to Leonel Rivera, they are

not hearsay and therefore admissible. See Kuthuru, 665 F. App’x at 38. Statements 1, 3, 5, and 6

were also designed to induce Leonel Rivera’s assistance in the drug-trafficking conspiracy. For

example, in Statement 1, CC-1 described the defendant’s drug-trafficking activities and corrupt

police connections to entice Leonel Rivera to meet and engage in drug-trafficking activities with

the defendant. In Statement 3, CC-5 wanted Leonel Rivera’s permission to allow the defendant,




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CC-5, and others to receive a cocaine-laden aircraft in Cachiros-controlled territory. In Statement

5, CC-1 wanted to spur the Cachiros to invest in a large cocaine shipment with CC-1 and the

defendant. In Statement 6, CC-7 hoped to secure Leonel Rivera’s help during a time when the

defendant and CC-1 were upset that CC-7 owed them a drug-trafficking debt. See, e.g., Gigante,

166 F.3d at 82; Beech-Nut Nutrition Corp., 871 F.2d at 1199; Persico, 832 F.2d at 716. Statement

2 by CC-7 also furthered the conspiracy by informing Leonel Rivera that the defendant was

working independently with CC-6, which the defendant had not told Leonel Rivera. Similarly,

Statement 4 by CC-11 furthered the conspiracy by assuring Leonel Rivera, CC-1, and others that

CC-11 would repay a drug debt to the defendant.

               2.     Statements by CC-11, CC-5, and CC-7 Are Admissible Pursuant to
                      Rule 804(b)(3)

       As explained above, CC-11 and CC-7 are unavailable for purposes of Rule 804(b)(3)

because they are deceased. CC-5 is unavailable because he is in custody and would likely invoke

the Fifth Amendment in response to questioning. All of the Statements from those co-conspirators

were against the declarants’ penal interest because they implicated themselves, the defendant, and

others in drug-trafficking activities. The Statements also bear sufficient indicia of reliability

because they spoke in private and did not appear to shift blame, e.g., Dupree, 870 F.3d at 80, and

they made the statements to a drug-trafficking co-conspirator with whom they had a long-standing,

criminal relationship, see United States v. Saget, 377 F.3d 223, 230 (2d Cir. 2004) (reasoning that

“speaking with a friend” in a “private setting” was another consideration suggesting reliability).

Therefore, the Statements by CC-11, CC-5, and CC-7 to Leonel Rivera are admissible pursuant to

Rule 804(b)(3).




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IV.    Evidence of the Defendant’s Participation in Five Drug-Related Murders Is
       Admissible

       The defendant conspired with CC-1, CC-5, and others to have five people murdered, by

the defendant himself in certain instances and at his direction on other occasions, in furtherance of

his drug-trafficking activities.   Testimony from Leonel Rivera regarding these incidents is

admissible as direct evidence related to Counts One, Two, and Three, and, in the alternative,

pursuant to Rule 404(b). Under either theory, the evidence has significant probative value with

respect to the cocaine-importation conspiracy charged in Count One and the weapons offenses

charged in Counts Two and Three, and is not unduly prejudicial under Rule 403.

       A.      Relevant Facts

       As explained in the Background section, the defendant participated in five murders

between in or about 2010 and 2013: (i) in about 2010, the defendant and CC-1 killed Victim-1,

who had stolen money from Leonel Rivera; (ii) in about 2011, the defendant, CC-1, CC-5, and

others, killed Victim-2 and Victim-3, in retaliation for their murder of CC-1’s relative; (iii) in or

about 2012, the defendant and CC-1 killed Victim-4, a law enforcement officer who was involved

in the raid of the defendant’s Laboratory; and (iv) in or about 2013, the defendant and CC-1 ordered

assassins to kill CC-7, who owed the defendant and CC-1 a drug debt.

       B.      Discussion

       Evidence of the defendant’s role in these murders is probative of his participation in the

drug-trafficking conspiracy charged in Count One, including the connections to the Honduran

National Police that the defendant relied upon in connection with the conspiracy and the great

lengths to which the defendant was willing to go in order to protect himself and his co-conspirators.

See Ulbricht, 79 F. Supp. 3d at 485 (reasoning that “murder-for-hire evidence is directly relevant




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to proving the elements of the narcotics offense” because “the context of each of the alleged

solicitations involves narcotics dealers”); see also United States v. Gadsden, 300 F. App’x 108,

110 (2d Cir. 2008) (affirming admission of “past violent acts” because “such evidence helps to

explain the mutual trust that existed between coconspirators” (internal quotation marks omitted));

United States v. Arrington, 867 F.2d 122, 130 (2d Cir. 1989) (reasoning that a “plot to silence

witnesses further[ed] the goals” of a narcotics conspiracy); United States v. Barret, No. 10 Cr. 809,

2011 WL 6704862, at *5 (E.D.N.Y. Dec. 21, 2011) (“Acts of violence are frequently deemed to

have been performed as overt acts in furtherance of, and thus are direct evidence of, an alleged

drug distribution conspiracy.”).    The defendant’s participation in these murders with drug-

trafficking co-conspirators therefore has significant probative value with respect to Count One.

       Evidence related to the murders is also probative of the defendant’s ability to cause, aid,

and abet others in the use of firearms in furtherance of the drug-trafficking conspiracy, as charged

in Count Two, and his conspiracy with others to use firearms in furtherance of the drug-trafficking

conspiracy, as charged in Count Three. See United States v. Abdalla, No. 14 Cr. 716, 2018 WL

5819799, at *4 (S.D.N.Y. Oct. 23, 2018) (reasoning that murder in furtherance of uncharged drug-

trafficking conduct was “probative of the Defendants’ opportunity to conspire to use and carry

firearms in furtherance of drug crimes”); see also United States v. Barnes, 560 F. App’x 36, 41

(2d Cir. 2014) (reasoning that defendant’s admission “about killing a rival drug dealer” was

admissible “as direct proof of the charged crack conspiracy and of [defendant’s] firearms

possession related to that conspiracy”). Thus, the evidence is plainly relevant and has even more

probative value than the murder in Abdalla because the murders in question here were in

furtherance of Count One rather than uncharged drug-trafficking in another controlled substance.




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       Finally, evidence related to these murders is admissible under Rule 403. “Since ‘drug

trafficking is often attended by violence,’ courts in this Circuit repeatedly have declined to

preclude evidence of violence in narcotics cases.” Ulbricht, 79 F. Supp. 3d at 487 (quoting United

States v. Sureff, 15 F.3d 225, 228-29 (2d Cir. 1994) and collecting cases); see also Abdalla, 2018

WL 5819799, at *4; United States v. Baptiste, 264 F.3d 578, 590 (5th Cir. 2001) (“Although the

evidence of the murders and attempted murders was prejudicial, it was necessary for the jury to

understand the brutal nature of the conspiracy.”); United States v. Chin, 83 F.3d 83, 88 (4th Cir.

1996) (finding no Rule 403 violation where “the murder demonstrated the extent to which

[defendant] was willing to go, or at least threaten, in order to ensure that the heroin deal and any

future deals went smoothly”). The Rule 403 balancing with respect to these five murders must

also take into account the fact that the evidence in this case relates to extremely violent drug

trafficking carried out by heavily armed criminals. For example, Rivera Maradiaga has admitted

to causing 78 murders in connection with his cooperation agreement. Particularly in that context,

evidence related to the defendant’s participation in five murders is not unduly prejudicial.

V.     Electronic Evidence From the Defendant’s Cellphones Is Admissible

       Law enforcement seized two cellphones that were in the defendant’s possession on the day

of his arrest. One of the cellphones (“Cellphone-1”) contained (i) a photograph of an official

Honduran law enforcement document identifying some of the defendant’s co-conspirators who

were under investigation; (ii) photographs depicting firearms, including machineguns and

handguns, and destructive devices; (iii) photographs depicting large quantities of U.S. currency;

and (iv) communications about the Honduran military, some of the defendant’s co-conspirators,

and destroying evidence. For the reasons set forth below, the Government respectfully submits




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that this evidence is admissible.

       A.      Evidence of the Defendant’s Receipt of an Official Police Document
               Concerning a Criminal Investigation of Co-Conspirators is Admissible

               1.      Relevant Background

       Cellphone-1 contains a photograph of an official document, dated June 14, 2016, from a

law enforcement officer (“Agent-1”) directed to a senior law enforcement official in the Cortés

Department (the “Investigation Document”). The Investigation Document requests information

about twenty individuals who are being investigated for crimes related to money laundering,

including Owner-1, members of Owner-1’s family, and Yankel Antonio Rosenthal Coello, a

former cabinet-level official in CC-4’s administration.11 The Investigation Document is signed by

Agent-1, whose title includes “Organized Crime,” with a Honduras “Public Ministry” notary

stamp.12

               2.      Discussion

       The Investigation Document is admissible as direct evidence of the charged crimes. The

Investigation Document is probative of the defendant’s access to law enforcement in the Cortés

Department, which one or more witnesses will explain was the location of, among other things,

the defendant’s Laboratory; one or more clandestine airstrips the defendant controlled; events




11
  In 2017, Rosenthal pleaded guilty to attempted money laundering in this District. See No. S6
13 Cr. 413 (JGK). In 2018, he was sentenced principally to 29 months’ imprisonment and a
$50,000 fine.
12
   A translation of the Investigation Document is attached as Exhibit C. The Government
respectfully requests that Exhibit C be maintained under seal temporarily because of the sensitive
information—including personally identifiable information—that it contains.




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leading to the murders of Victim-1, Victim-3, and Victim-4; multiple meetings between the

defendant and Leonel Rivera; and multiple meetings involving the defendant and CC-4. Similar

to the Comanche chats, the Investigation Document reflects that the defendant had access through

sources to sensitive information about law enforcement activities and corroborates witnesses who

will testify concerning the same. The Investigation Document also corroborates anticipated

testimony from Witness-1 that the defendant was close with Owner-1 and members of Owner-1’s

family, and that he spent a significant amount of time at Business-1. As an alternative, the

Investigation Document is admissible pursuant to Rule 404(b) to show the defendant’s opportunity

and knowledge of his co-conspirators, including Owner-1. Finally, for all the reasons described

in the preceding sections, introducing the Investigation Document would not be unfairly

prejudicial under Rule 403.

       B.     Evidence of the Defendant’s Possession of Firearms and Large Quantities of
              U.S. Currency is Admissible

              1.      Relevant Background

       Cellphone-1 contains numerous photographs of firearms, including machineguns,

handguns, and destructive devices. Cellphone-1 also includes a photograph of a document listing

several firearms and their serial numbers, including a “Colt AR-15” and “40 mm pistolo barretta.”

Cellphone-1 also contains photographs of large amounts of U.S. currency, including in the

defendant’s possession. Several examples are provided below:




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               2.      Discussion

       Evidence of the defendant’s possession of firearms and large quantities of U.S. currency is

admissible as direct proof of the charges, to corroborate anticipated witness testimony, and, in the

alternative, pursuant to Rule 404(b).

       The fact that the defendant has photographs of firearms, including some that appear to

show him holding firearms, is highly probative of his guilt of the firearms offenses contained in

Counts Two and Three. Similarly, photographs of firearms and large quantities of U.S. currency

is direct evidence of his drug-trafficking crime. Firearms constitute a tool of the drug trade. See,

e.g., United States v. Muniz, 60 F.3d 65, 71 (2d Cir. 1995) (“[T]here are innumerable precedents

of this court approving the admission of guns in narcotics cases as tools of the trade.”); United

States v. Vegas, 27 F.3d 773, 778 (2d Cir. 1994) (“[T]his Court has repeatedly approved the

admission of firearms as evidence of narcotics conspiracies, because drug dealers commonly keep

firearms on their premises as tools of the trade.” (internal quotation marks omitted)). That is

particularly true where, as here, the defendant and his co-conspirators used heavy weaponry,

including machineguns and destructive devices, to protect their drug shipments and commit acts




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of violence in furtherance of their activities. Similarly, large, unaccounted for amounts of currency

is another hallmark of narcotics trafficking. See United States v. Gonzalez, 922 F.2d 1044, 1056

(2d Cir. 1991) (holding that possession of large, unaccounted for amounts of currency is admissible

to prove the defendant’s participation in narcotics dealings).

       Moreover, several witnesses are expected to testify concerning the defendant’s possession

of firearms and possession of large amounts of U.S. currency in connection with his drug-

trafficking crimes. Thus, photographs of firearms and large amounts of U.S. currency on the

defendant’s Cellphones directly corroborates that testimony. See United States v. Riccardi, 620 F.

App’x 11, 15 (2d Cir. 2015) (“The district court acted well within its discretion in concluding that

the guns and ammunition were not being offered to prove propensity but, rather, as direct evidence

of the charged robbery crimes as well as corroboration for [a cooperating witness’s] testimony that

Riccardi had provided him with the guns he used to commit the robbery.”); United States v. Scott,

677 F.3d 72, 81 (2d Cir. 2012) (“We have ‘consistently held [other act evidence] admissible to

corroborate crucial prosecution testimony.” (quoting United States v. Everett, 825 F.2d 658, 660

(2d Cir. 1987))).

       As an alternative, photographs of firearms and currency on the defendant’s Cellphones are

admissible under Rule 404(b) because they show the defendant’s opportunity to access firearms in

connection with his drug-trafficking crimes and that at least part of his motive for committing his

crimes was to obtain large amounts of money. See, e.g., United States v. Rodriguez, 761 F. App’x

53, 59 (2d Cir. 2019) (“The government argues that it introduced the challenged testimony to

establish that Hilario-Bello had access to guns. The cooperator’s testimony may be allowed for

that purpose. The District Court did not abuse its discretion in so ruling.” (citation omitted));




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United States v. Slaughter, 248 F. App’x 210, 212 (2d Cir. 2007) (upholding admission of evidence

of prior firearm possession under Rule 404(b) as demonstrating opportunity to access firearms,

which was relevant to firearms charges in instant case); United States v. Tubol, 191 F.3d 88, 95

(2d Cir. 1999) (evidence that defendant possessed a gun when he was arrested was admissible “to

show that he had the means to commit” armed robberies).

       Finally, admitting the photographs would not be unduly prejudicial. Evidence of the

defendant’s possession of firearms and large amounts of currency does “not involve conduct any

more sensational or disturbing than the crimes with which” he was charged. United States v.

Roldan-Zapata, 916 F.2d 795, 804 (2d Cir. 1990). Indeed, at least one witness will testify about

multiple murders committed by the defendant and his co-conspirators. Accordingly, this evidence

is not barred by Rule 403.

       C.      Evidence of the Defendant’s Electronic Communications is Admissible

       In 2019 and 2020, the defendant exchanged electronic communications, including text

messages and voice notes, using the WhatsApp encrypted messaging application with an apparent

Honduran military official identified as Comanche and a law enforcement official identified as

“Commissioner Martines” (the “Commissioner”). During those chats, the defendant, among other

things, (i) exchanged messages about Tony Hernandez’s trial, including news clippings about a

drug trafficker who was murdered following trial in a Honduran prison; (ii) acknowledged that the

Honduran military had protected him; (iii) obtained internal police reports about acts of violence

in Honduras that attached images depicting firearms and individuals who had been murdered; and

(iv) requested and received assistance about how to determine whether the defendant’s phone was

being intercepted and how to delete information on his phone.




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              1.      The Comanche Chats are Admissible

                      a.     Background

       The defendant and Comanche communicated on a regular basis using WhatsApp. In some

of those chats, Comanche, who appears to be a military official, and the defendant discussed CC-

4, other military officials, and the Tony Hernandez trial. For example, on October 27 and 28,

2019, Comanche sent the defendant a video concerning Nery López Sanabria and an image of a

news article, pictured below, reporting that López Sanabria had been murdered in a Honduran

prison known as El Pozo. During Tony Hernandez’s trial, which ended less than two weeks before

López Sanabria’s murder, the Government had introduced Sanabria’s drug ledgers containing

notations for “Tony Hernandez” and CC-4’s initials, along with corresponding entries reflecting

large payments to them.




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       On or about the same day that Comanche sent the defendant information about Sanabria’s

murder, he also sent the cover of a news article, depicted below, with a photograph of one of the

Valles and a headline that translates roughly to, “RELATIVES AND DEFENSE FEAR THAT

REYNERIO VALLE WILL BE KILLED IN EL POZO.” In other chats with Comanche, the

defendant commented on the murder of another Valle, stating, in substance and in part, that they

“nailed” Arnulfo Valle’s son; that it must have been “the competition or the police”; and that this

is the end of those people. Comanche responded, among other things, that the Valles took

advantage of many people by not repaying others for “products” or “merchandise.”




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       On October 30, the defendant complained that the situation in Honduras was “getting ugly”

and that others have tried to come after him on numerous occasions, but he has only complained

to Comanche about it. In response, Comanche said that his group has offered or provided the

defendant with the support the defendant has needed, to which the defendant said “100

Comanche.” Comanche then sent a picture of a military official saluting.

       Several days later, on November 8, 2019, Comanche sent the defendant an internal police

report that was signed by a police commissioner of a metropolitan unit in San Pedro Sula. In that

internal report, the police commissioner wrote that officers had investigated a crime scene in which

four people were murdered and firearms were recovered.            The report also attached three

photographs of individuals who appeared to be murdered, one of which is depicted below.




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                       b.      Discussion

       The defendant’s chats with Comanche in October and November 2019 are admissible as

direct evidence of the charged crimes. As an initial matter, the chats reflect that the defendant had

significant connections with Honduran military officials such that the defendant confirmed “100

Comanche” that the military supported him. This statement is plainly admissible to show that the

defendant had the protection of the Honduran armed forces in support of his drug trafficking and

to corroborate witnesses who will testify to the same. See Riccardi, 620 F. App’x at 15. Indeed,

the defendant’s close relationship with Comanche is reflected in chats in November 2019 in which

Comanche sent the defendant an internal report from a police commissioner discussing

investigations into murders and sending photographs of the crime scene. These communications

also corroborate witnesses who will explain that that the defendant received sensitive law

enforcement information in connection with his drug-trafficking activities, as well as assistance

from law enforcement to commit murders.

       The defendant’s chats with Comanche also are admissible because they are additional

evidence of the defendant’s relationship with the Valles and other of his co-conspirators. For

example, days after the Tony Hernandez trial, the defendant and Comanche exchanged messages

about the Valles, including messages in which Comanche acknowledged that the Valles had

enemies because they owed people money from drug-trafficking activities.             Relatedly, the

defendant’s receipt of news articles related to López Sanabria—a prominent figure at Tony

Hernandez’s trial—is relevant given that the defendant claimed during his post-arrest statement

that he did not know Sanabria.




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       In the alternative, and for similar reasons, the Comanche chats are admissible pursuant to

Rule 404(b). The defendant’s strong support from the Honduran armed forces shows that the

defendant had the opportunity to commit his drug-trafficking and weapons offenses on the large

scale described by witnesses. See United States v. Dupree, 870 F.3d 62, 76 (2d Cir. 2017) (noting

that a court may “admit evidence of prior acts as probative knowledge and intent if the evidence

is relevant to the charged offense, i.e., if there is a similarity or connection between the charged

and uncharged acts”). Similarly, the defendant’s communications with Comanche are probative

of the background of the conspiracy and the relationship of trust between co-conspirators. See

Dupree, 870 F.3d at 76 (observing that the district court can, for example, “admit evidence of prior

acts to inform the jury of the background of the conspiracy charged, in order to help explain how

the illegal relationship between participants in the crime developed, or to explain the mutual trust

that existed between coconspirators”); United States v. Brennan, 798 F.2d 581, 590 (2d Cir. 1986)

(admitting such evidence where prior dealings between two co-conspirators show “the basis for

the trust between” the co-conspirators”).

       Finally, the Comanche chats are not unduly prejudicial relative to other proof in this case.

For all the reasons described above, the defendant’s activities in this case involved extensive

violence and corrupt connections to high-ranking politicians, law enforcement, and military

officials. Accordingly, evidence of the full breadth of those relationships and the substance of his

conversations with co-conspirators is not barred by Rule 403.




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               2.      The Commissioner Chats are Admissible

                       a.      Background

       The defendant and the Commissioner regularly used WhatsApp to exchange messages. On

February 25, 2020, days before the defendant’s arrest in this case, the defendant asked whether the

Commissioner, who he referred to as the “colonel,” still had “that code used to delete”; the

Commissioner replied that he did; and the defendant requested that the Commissioner “send it

over” because the defendant needed “[t]o check my phone.” The Commissioner then sent the

defendant a three-step process to determine whether his calls have been intercepted, explaining

that “if you see IME/1[.] It is because they have intercepted you.” The Commissioner later wrote

that if the defendant’s phone was being intercepted, then the defendant likely “deleted everything”

by following the Commissioner’s instructions. The defendant responded: “Last time, I told you

that [pause] that friend over there told me that [pause] that they were checking on us [pause] that

they had us there [pause] I mean, that they were listening to us. To try to avoid talking so much

nonsense. Don’t you remember when I told you that?” The Commissioner responded yes, to

which the defendant said, “[n]evertheless, we have been able to elude them.”

                       b.      Discussion

       The defendant’s chats with the Commissioner are admissible for several reasons. First, the

chats are admissible as consciousness of guilt. It is well settled that circumstantial evidence of an

offense may “include acts that exhibit a consciousness of guilt,” such as attempts to conceal

criminal behavior. United States v. Gordon, 987 F.2d 902, 907 (2d Cir. 1993). Here, the defendant

did just that by seeking assistance from the Commissioner to learn whether his phone was being

intercepted and delete information, as well as the defendant’s admission that he would try to “avoid




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talking so much nonsense” as directed by his friend who warned him that he was being intercepted.

See, e.g., United States v. Zichettello, 208 F.3d 72, 105 (2d Cir. 2000) (holding that evidence was

sufficient to support the jury’s finding of the defendant's knowing participation in a conspiracy in

part based on efforts to “conceal” certain actions, which “evidenc[ed] consciousness of guilt”).

Second, the defendant’s chats with the Commissioner are also admissible to corroborate Leonel

Rivera. As detailed above, Leonel Rivera will testify that the defendant relied on law enforcement

officials for assistance with his drug-trafficking activities. The foregoing chats plainly corroborate

that testimony by showing that the defendant was in fact receiving information from law

enforcement about hiding evidence. See Riccardi, 620 F. App’x at 15. Finally, in the alternative,

the chats are admissible pursuant to Rule 404(b) to show the defendant’s preparations and plan for

seeking to avoid detection in connection with his drug-trafficking activities and related violence.




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                                       CONCLUSION

       For the foregoing reasons, the Government respectfully submits that the Court should grant

the relief requested herein.

Dated: New York, New York
       January 8, 2021

                                                       Respectfully Submitted,

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